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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-8078-WM


  UNITED STATES OF AMERICA,

           Plaintiff,

  vs.

  KEVAN C. FUSCO,

        Defendant.
  ___________________________________/


                               NOTICE OF ASSIGNMENT

           The above captioned case has been assigned to the Assistant Federal Public

  Defender specified below.

           Please send all notices and inquiries to this attorney at the address listed

  below.

                                                Respectfully submitted,

                                                MICHAEL CARUSO
                                                FEDERAL PUBLIC DEFENDER

                                                By: s/M.Caroline McCrae
                                                M. Caroline McCrae
                                                Assistant Federal Public Defender
                                                Attorney for Defendant
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                             CERTIFICATE OF SERVICE

        I HEREBY certify that on March 11, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

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                                         s/M. Caroline McCrae
                                         M. Caroline McCrae




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